It is evident on the record and from the conclusions reached by the Court of Common Pleas and this court respectively, that section 62 of the statutes of the order may reasonably be construed in different ways, and therefore it can not be said that the action of the jurisdiction committee was an abuse of discretion or contrary to and in violation of the constitution and statutes of the order, or was "unwarranted, illegal or arbitrary." It follows that its decision was final, that the parties hereto were bound thereby, and the courts are without authority to disturb it.
It was said in Richards v. Morison, 229 Mass. 458, at page 460, 118 N.E. 868:
"The plaintiff, by becoming a member of the association, agreed to be bound by its rules and subject to its discipline. As one of the incidents of membership, he consented to accept liability to expulsion, ordered in accordance with its regulations. When the action of *Page 347 
the association or of its officers is challenged in respect to the exercise of the power of expulsion, the court does not sit in review upon the wisdom or expediency of their conduct. The decision of the organization and its officers acting in good faith in accordance with the rules on that subject is the final tribunal. There is no general appeal to the courts."
LLOYD, CARPENTER and STUART, JJ., of the Sixth Appellate District, sitting by designation in the Third Appellate District.